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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             HUNTINGTON DIVISION


GENBIOPRO, INC.,
                      Plaintiff,

                v.
                                                          Civil Action No.: 3:23-cv-00058
KRISTINA RAYNES, in her official capacity                    (Hon. Robert C. Chambers)
as Prosecuting Attorney of Putnam County,
AND PATRICK MORRISEY, in his official
capacity as Attorney General of West Virginia,
                      Defendants.



ORDER REGARDING MOTION TO AMEND COMPLAINT AND JOINT STIPULATION

       The Court hereby GRANTS the Motion to Amend Complaint and Joint Stipulation

filed by the parties on October 18, 2023, Dkt. No. 73, and deems Plaintiff’s First Amended

Complaint to be the operative complaint in this case.

       The Clerk is directed to send copies of this Order to those counsel of record who have

registered to receive an electronic NEF.

       IT IS SO ORDERED this 19th day of October, 2023.




                                             Robert C. Chambers
                                             United States District Judge
